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 7
     Attorneys for Defendant(s)
 8   CITY AND COUNTY OF SAN FRANCISCO,
     MARK POWELL, KELLEY FRACCHIA, and SYLVIA LANGE
 9

10

11                                     UNITED STATES DISTRICT COURT

12                                  NORTHERN DISTRICT OF CALIFORNIA

13    JANE DOE, an individual,                           Case No. 22-cv-05179-AGT

14            Plaintiff,                                 STIPULATION BY THE PARTIES
                                                         EXTENDING DEFENDANTS’ TIME TO
15            vs.                                        RESPOND TO PLAINTIFF’S COMPLAINT
                                                         AND PROPOSED ORDER
16    CITY AND COUNTY OF SAN
      FRANCISCO, a municipal corporation;
17    WILLIAM SCOTT, in his individual                   Trial Date:            Not Set.
      capacity as Chief of Police of the San
18    Francisco Police Department; MARK
      POWELL, in his individual capacity as
19    Crime Laboratory Director of the San
      Francisco Police Department; KELLEY
20    FRACCHIA, in her individual capacity as
      criminalist for the San Francisco Police
21    Department; SYLVIA LANGE, in her
      individual capacity as an officer of the San
22    Francisco Police Department; and DOES 1-
      50, inclusive.,
23
              Defendants.
24

25

26           Under Northern District of California, Civil Local Rule No. 6-1, it is hereby stipulated by and

27   between Plaintiff JANE DOE and Defendants CITY AND COUNTY OF SAN FRANCISCO, MARK

28   POWELL, KELLEY FRACCHIA, and SYLVIA LANGE, through their respective counsel, that the
      Stip Extending Time to Respond to Complaint         1                          n:\lit\li2022\220810\01631476.docx
      Case No.: 22-cv-05179-AGT
               Case 3:22-cv-05179-AGT Document 10 Filed 09/30/22 Page 2 of 2




 1   time to file a responsive pleading to the Complaint on behalf of Defendants is extended to and includes

 2   October 27, 2022. This extension will not alter any event or deadline already fixed by Court order, and

 3   it does not involve papers required to be filed or lodged with the Court other than an initial response to

 4   the Complaint.

 5

 6   Date: September 30, 2022                             DAVID CHIU
                                                          City Attorney
 7                                                        MEREDITH B. OSBORN
                                                          Chief Trial Deputy
 8                                                        REBECCA LOUIE
                                                          Deputy City Attorney
 9

10                                                  By:    /s/ Rebecca Louie
11                                                        REBECCA LOUIE

12                                                        Attorneys for Defendants
                                                          CITY AND COUNTY OF SAN FRANCISCO, et al.
13

14   Dated: September 30, 2022

15                                                        POINTER & BUELNA, LLP

16                                                  By:    /s/ Ty Clarke
                                                          TY CLARKE, ESQ.
17
                                                          Attorneys for Plaintiff
18                                                        JANE DOE
19                                                        **Pursuant to Civil L.R. 5-1(i)(3), the electronic
                                                          signatory has obtained approval from this signatory.
20

21

22                                              [PROPOSED] ORDER

23
              PURSUANT TO STIPULATION, IT IS HEREBY ORDERED that all Defendants who have
24
     been properly served or waive service shall respond to the Complaint on or before October 27, 2022.
25

26
     Dated:
27                                                               HONORABLE ALEX G. TSE
                                                                 UNITED STATES DISTRICT COURT
28
      Stip Extending Time to Respond to Complaint                2                         n:\lit\li2022\220810\01631476.docx
      Case No.: 22-cv-05179-AGT
